Case: 5:22-cv-01454-CEH Doc #: 1-13 Filed: 08/15/22 1 of 3. PagelD #: 46

EXHIBIT J
Case: 5:22-cv-01454-CEH Doc #: 1-13 Filed: 08/15/22 2 of 3. PagelD #: 47

E™& sQUIRRELS

Squirrels, LLC invoice
121 Wilbur Br NE 90002860
North Canton, OH 44726
us
Bill To Name Nonce Pte Ltd issue Date 6/16/2018
Bill To & St Martin's Dr Due Data 6/16/2018
#03-21 St Martin Residence
Singapore 258005
8G

BCU1525 with mods no DIMMS USD 3,350,00 20.00 USD 67,000.60

Subtatal USD 67,006.00
Grand Total USD 67,006.00
Terms and Stock Is nol reserved untit payment has been recelved,
Conditions
Taxes, Import fees and dules, and shipping cosis to be collected al time of shipment.
Wire Transfer JPMorgan Chase Bank, N.A.

219 North Main St.
North Canton, OH 44720
Routing: 044000037
Account: 233220217
Swift Code: CHASUS33
Case: 5:22-cv-01454-CEH Doc #: 1-13 Filed: 08/15/22 3 of 3. PagelD #: 48

BpsssosG SHIFT SYSTEM PROCESSING DATE | 02/07/2019
SaSENT OLYGOING SHIFT MESSAGES SENT PAGE41, 903
UNIT=DASSSGSGRARPY OD

U-UM 19" TCHAGUSSI“AKINIOL GOTIS VET HS
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RESIDENCE 03-2) SINGAPORE 256005
7 SA: Account tHith Institution - PE BIC
#/FHOAIOG0037
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